
20 A.3d 104 (2011)
419 Md. 628
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Steven David PERICONI, Respondent.
Misc. Docket AG No. 90, September Term 2010.
Court of Appeals of Maryland.
May 19, 2011.

ORDER
Upon consideration of the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent Steven David Periconi to disbar the Respondent, by consent, any opposition thereto, and for good cause shown, it is this 19th day of May, 2011, hereby
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Steven David Periconi be, and hereby is disbarred by consent from the practice of law in the State of Maryland, and it is further
ORDERED, that the effective date of the Respondent's disbarment is May 19, 2011; and it is further
ORDERED, that the Clerk of this Court shall on May 19, 2011, remove the name of Steven David Periconi from the register of attorneys in the Court and certify that fact to the Client Protection Fund and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-773(d).
